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                  IN TH E UN ITED STATES D ISTRICT CO URT F
                         SOUTHERN DISTRICT OFFLORIDA FILED BY p tili'lz- D.C.
                            W EST PA LM BEA CH D IV ISIO N
                                                                        AtJ6 312022
    DONALD J.TRUMP,                                                    ctjjuttl.jk.
                                                                                  yt
                                                                                   jg:
                                                                       S.D.OF FLA.-W.RR
                                    Plaint? No.9:22-cv-81294-AMC

                                               D ated:August31,2022
    UN ITED STATES O F A M ERICA,

                                               JURY TRIAL DEM ANDED
                                  Defendant

            M OVANT-INTERVENOR (PRO SEI-M JK.PATEL'S REPLY TO
                        D EFEN D A N T'S RESPO N SE A T D K T.48

        1,T.E.,T.E RAJK .PATEL,the undersigned m ovant-intervenorpr0 se,in the above-
  nam ed case,w ith a pending m otion atD kt.36,hereby subm itthisreply to D efendant-
  U nited StatesofA m erica'sResponse atD kt.48.

        W HEREAS,tm derthe currentoperations,the Republichasbeen disregarded by the
  conductoftheUnited StatesDOJand F.B.I,Nixon r.Gen.Serv.Ail?'
                                                             nfn.,433U.S.425,447-
  9 (1977);and,
        W HEREAS,the Presidency consistsoftheincum bentand form erPresident;and,
        W HEREAS,theU nited StatesO rderofPrecedent,housed by the O ffice ofthe Chief
  ofProtocolofUnited States Secretary ofState,show susthatform er-presidentTrum p is
  precedent to the operations of the incum bent-A ttorney General of the United States,
  https:/kwww .state.gov/wp-content/uploads/zozo/os/zozo-order-of-precedence-
  FINAL.pdfat2 (revised 5/14/20)and Id.at1 (''...thisdocum entestablishes a general
  orderforthecountry'shighest-levelpositions.
                                            '..'');andz'




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         W HEREAS,the Constitution's law and policy is w elldocum ented in the U nited
   StatesO rderofPrecedentbecauseincum bentand form erPresidentsare expected to have

   an inform ation advantage,M cM ahonv.PresidentialAirways,502F.3d 1331,1351(111 Cir.
   2007)(quoting Bakerv.Carr,369U.S.186,217(U.S.1962)),Sweeneyv.Tucker,375A.2d 698,
  473Pa.493,509(Pa.1977)(thePresidency specificallyhas''autonom ousdeterm ination of
   theissueraised//);Comm.ontheludiciaty,LI.5.HouseofRepresentativesv.M iers,558F.Supp.
  2d 53,103 (D.D.C.2008)(Bates,J.)(explaining thattheExecutivebranch'sseparation-of-
  powersinterestin ''lplresidentialautonomy);44 U.S.C.jj 2204(b)(1)(A)(i)& (b)(1)(B);
  and Prof.CorneliusAdrian ComstockVermeule(''Adrian Vermeule/'),VeilofIgnorance
  Rules in Constitutional Lazo,        Yale       399, 403-07, 411-14, 399-433 (2001),

  https://doi.org/10.2307/797593,
                                .and,
         W HEREAS, entrance into the form er President's castle by the incum bent
  governm ent is supposed to be à significant and distinguishable m ove and one that is
  readily available,assuch gesm res,ourFram ersand Foundersvery w ellknew , are to set
  them selvesapartfrom a coup detat.

         THEREFORE, any form er president Can daim Privilege against the incum bent
  governm entand law enforcem ent,exceptforw hen the incum bentPresidentis directly
  involved w ith specifically authorized law enforcem ent entities such as United States
  SecretService agents or United States M ilitary soldiers,contra. Endeley v.United States

  Dm 'fofDefense,268F.Supp.3d166,176(D.D.C.2017)(internalcitadonsomitted).
        W HEREAS,the vestiges ofthe Constitution and the PresidentialRecords Act, 44

  U.S.C.jj2201etseq.,m akesthism atterforthePresidency along;and,




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         W HEREAS,neithertheincum bentnorform erPresident'ow n the records,44U S.C .              .



   j2202;and,
         W HEREAS,ohly the United Statesow ns thePresidentialrecords,1J.;and,
         THEREFORE,Governm entcan haveno interestsuperior to those ofthe incum bent
   or form er H eads ofState,b0th cohstitutionaldistinctentities w hich are headed by the

   incumbentPresident.itffcf.Dkt.48at24citing UnitedStatesv.Nixon,418U.S.683,708
   (1974).
         W HEREASZthePoliticalQuestion Doctrineand thePresidentialRecordsActm akes
  information managementan affairspecifically ofthe Presidency ratherthan the larger
   executivebranch,seee.g.,Holcombv.Bray,187N .E.3d1268,1290(Ind.2022)(''Thepolitical
   question doctrine prevents courts from getting involved irt the internal m atters of
   (anotherlbranch./')(internalcitationsomitted),Jiménez'
                                                        n.Palacios,250A.3d 814,828,830,
  837 (De1.Ch.2019)(internalaffairsdoctrine),Ga.PowerC0.'
                                                        p.Allied ChemicalCorp.,233
  Ga.558,563 (Ga.1975)(internalcitation om itted),Grimaud v.Com,581Pa.398,418 (Pa.
  2005),and W illiam Penn Sch.Dist.r.Pa.Dep't0JElzfc.,No.J-82-2016*39(Pa.Sep.28,2017)
                                                       .



  (''self-m onitoring'')(internalcitationsom itted);and,
         W HEREAS,only thePresidentand theentirejudiciary aretheonly instrumentsof
  theUnited StatesConstitutionsnotsubjecttoveilrulesizand,
         W HEREAS,otherExecutive personnelinferiorto the Presidency,cf.incumbent
  President,and theCongressaresubjecttoinformation veilrules,Prof.CorneliusAdrian

  1.Form erPresidentscan possessproperty and rights,which areow ned by the Urtited States, on behalfof
     theUnited States.SeealsoTuckerAct,28U.S.C.5j1346(a)& 1491(form erPresidentTrumphasactual
     authority asformerpresidentoftheUnited Statesfornecessary mattersoftheipsofactoofficeofthe
     formerPresidentoftheUnitedStates),z.
                                        lzU.S.C.jj1981-2,andFederalistNos.78& 80.TheExcellent
     titleholderswho arenaturalborn citizensow n theUnited States.
  2.Should lhavenotmy omnipresenttitlesand stylesfrom elected excellentoffice ttheonly kind in the
     cotmtry in dom esdcaffairs,asfarasIknow),my politicalsciencedegreefrom atop-tiertmiversity
     allow sbe to overcom e the veilrulevia the United StatesConstitutionalPrivilege bestow ed upon m e
     bythesameclauseofinterestforthePresident.U.S.const.art.lV,j2.SeeDkt.21.

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  Comstock Vermeule(''Adrian Vermeule/'),VkflofJgnprqnccRzllpsï'
                                                               n ConsfïftffïonllLaw,
   111YaleL.J.399,403-07,411-14,399-433 (2001),https://d01.0rg/10.2307/797593,
                                                                             .and,
         W H/REAS,in other w ords, only the incum bentPresidèntw illknow if a1l other
  officers and persolm elofthe executive branch are acting w ith evidence or upon legal
  ignorance;and,

         W HEREAS,ourFounders,upon study a1lpriorcivilization,knew thatonly a form er
  H ead ofStateisthenextw ellpositioned to know ;thisconceptm ay even rem ain trueifa
  Vice Presidentofthe United States,especially who,during the Founding Era,w ere very
  likely to befrom differentpoliticalparties,isActing Presidentfora shortperiod oftim e .



         THEREFO'
                RE, in Order keep the Republic indivisible and standing, a form er

  President,here,PresidentTrum p,can assertPrivilege.U .S.const.art. IV,j2.

         W HEREAS,underthe currentm ethod adm inistered the United StatesDepartm ent
  ofJustice,form erPresidentTrum p isheld accountable to the sam e standard ofa ncf-
  United Statescitizen individual-hum an-person elected to localoffice,who m ay be denied

  Privilegeoftheelectedoffice(legislative,executive,magistrate,andjudidal)byeitherthe
  chartering SisterStateortheU nited States,U .S.const.art IV,j2& amend.XIV,j1,c1.2;
                                                         .




  and,
         W HEREAS,thus,the A ttorney Generalhas com m itted Treasonl,and;

         W HEREAS, President Trum p has been denied substantive Due Process and his
  honor'sPrivilegesasa shield,ratherthan asw ord,confzu.Dkt 48 at26 and seeU .S.const.
                                                              .




  art.1V,j2& am end.XIV,j 1,cl.29and,
         W HEREAS,O urFram ers,w ho w ere afraid ofcolonization,both by foreign values
  and force,ofthis N ew Union by Old W orld pow ers,have certainly instilled a logical

  distinction betw een theform erH eadsofStateofthe United Statesand not-citizensofthe

  UnitedStates,sc:U .S.const.art.V1,j1referring totheTreaty ofParis(1783),Id.referring

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  to Grievances20 & 21,Decl.ofIndep.(1776),and Lin r.United States,561F.3d 502,509
  (D.C.Cir.2009).3
           THEREFOREZ the D efendant-u nited States canriot deny Plaintiff-rrhe H onorable
  Trum p his ''endtled'' privileges and im m unides as a citizen of the United States4         .



  Federalist80.

           W HEREAS,ratherthan the incum bentA ttorney General,itis clearthatincum bent
  PresidentBiden should have acted because theA ttorney GeneralGarland,executing his
  ow n unchecked w arrant,entered the castle ofaform erH ead ofStateoftheU nited States,

  here,whoisformerPresidentTrum p,scce.g.44U .S.C.j2209(c)(1);and,
         W HEREAS,underthe Constitutionalreality,PresidentTrum p'scastle,even during

  its w eakest stato can w ithstand the entire Govem m ent of the United States w ith its
  im penetrableshield supported by H isH onor'sstatus,precedent,Privileges,Im m unities,

  substantiveDueProcessrights,and/ortheFourth Am endmentsearch and seizure;and,
         W HEREAS,am ongstthe law enfoxcem entauthorities,only theU nited StatesSecret
  Service and the U nited States M ilitary,under the direct com m and of the incum bent
  U nited States President, can ''execute'' a w arrant in a prem ises w hich are otherw ise

  protected by an ''impenetrablerforce)shieldz''18U.S.C.jj3056(c)(1)(A)& (D)& Dkt.36
  at2-3.

         THEREFORE,theDefendant-united Statesentrance into Plaintiff-Trum p'sprem ises
  w ere invalid.

         W HEREAS,thePresidentialRecordsActm akethePresidentialrecordstheproperty

  oftheUnited States,44U .S.C.j2022and 42U.S.C.jj1981-29and,


  3.King Edw ard VIII,form erHead ofStateoftheUnited Kingdom ofGreatBritain and husband ofW allis
     Simpson,theQueen'stmcle,andHerM ajestyQueen ElizabethH areonlyoneexample.
  4.Congress,aswhole,hasthepowerto rem ove dtizenship.

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         W HEREAS, thus, the Presidential records can be m utually possessed by the

   incttmbentand form erPresident,U.S.const.art.IV,j2 and42U.S.C.jj1981-2;and,
         W HEREAS, Plaintiff-Trum p has not been accused of converting U nited States

  property of44U .S.C.j2022which Plaintiffwasin possession.
         THEREFORE, the Defendant-united States cannot deny Plaintiff-The H onorable
  Trum p hisPrivilegesbecause he isalaw fulprocessorofUnited Statesdocum ents    .



         W HEREAS,ifCongresshas the pow erto enactthe PresidentialRecordsA ct,then it
  w ithoutForce unlessitisspecifically approved by incum bentPresident, U .S.const.art.1,

  j1andZivotofskyv.Clinton,132S.Ct.1421,1441(U.S.2012/and,
         W HEREAS,Defendant-united StatesofAm erkahassaid thatincum bentPresident
  Biden w asnotinvolved in the raid atthechartered M ar-a-Lago.
         THEREFORE,thePresidentiallkecordsA ctw asw ithoutconstitutionalforceand has
  only been used to disturb the Republic.

         W HEREAS,itisalso fairto say thatPrivilege can be asserted againstahypothetical
  Congressionalspecialprosecutor,w ho acting upon ignorance,can change the political
  agenda oftheU nited States,a pow ervested in the incum bentleadership ofPresidentof

  the U nited States,seeDkt.48 at24 citing TAtfplp p.Thompson,142 S Ct.680,680 (2022/
                                                                    .



  and,

         W HEREAS, the Constitutionalprindples m ake it clear that ratification by the
  incum bentPresidentis notperm itted,w hich is also for the bestinterestofthe Republic
  and largerState oftheUnited States;and,
         W HEREAS,thepoliticalbranches are held accountableby thepoliticsand courtiers
  ofW ashington,D .C.;and,
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         W HEREAS,thus,thepoliticalactors ofthe politicalbranches are notto be shielded
   by ''neutral''executive actorsw ho answ eronly to Congressionaloversightafteraperson
   receivesstanding to sue,Dkt.48 at26-29;and,
         W HEREAS,the Am erican norm s ofpeacefultransition of pow er helps politically

   enforcethePresidentialRecordsAct,Dep'tofCommercev.M ontana,503 U.S.442,448
   (1992/and,
         W HEREAS, the law s w hich been overlooked are the Privileges and Im m tm ities
   Clause as applied to the form er President of the U nited States, the castle doctrine as

   applied to form er President of the United States, the Political Question Doctrine
   (requiring the directly assigned Forces,underthecomm on law,theConstihztion,orActs
  ofCongress,to the incum bentand form er Presidents to help decide rather than ofthe

  United StatesDepartm entofJustice),the authorizing statuteoftheUnited StatesSecret
  Service,and thePresidentialRecordsAct,Japan W halingAss'n v.Am.Cetacean Soc'y,478
  U.S.221,230 (1986)(''theconfinesoftheExecutive Branch,''the OvalOffice and those
  haveformerly satthere);and,
         W HEREAS,the case-at-hand has uniquely showed thatthe powers ofjudicial
  review w illallow this Courtto determ ine w hether ornotan application ofthe Political
  Question Doctrine has been properly followed,which is also severably answered by
  w hether the applicable Privileges to the Plaintiff w ere follow ed or castle doctrine as
  applied to the Plaintiffw asfollow ed,i.e.did theproperconfinesoftheExecutive Branch
  (i.e.thePresidency)follow protocol,seeId.,Zemprelliv.Daniels,496Pa.247,255(Pa.1981),
  Trans W orld Airlines,Inc.v.Franklin M intCom .,466 U S.243,254 (1984),Nixen '
                                                        .                      fJ.Lfnïécd
  States,506 U.S.224,240 (1993),and Carmichaelp.Kellogg,572 F.3d 1271,1287 (11th Cir.
  2009/ and,



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           W HBREAS,the am enders ofthe U nited States Constihztion have also show ed that
  the form erPresident,w ho m ustbç a nattlral-bom citizen underthe governing original
  intent,is nota pluralized titlé beneath the U nited States N ationalG overnm entor the

  SisterStatetobother,U .S.const.am end.XIV,j2,c1.1;and,
           W HEREAS,Iusem y ConstitutionalPrivileges,honors,and rightsofknow ing from

  my undergraduate and 1aw school,juris doctor candidacy,educations and political
  officesand from reading 1aw outside ofform alschooling forthew riting and discussions,

  argum ents,and m otionsofthesefilings,seeDkt.21at5 & 20 and supra,p.9 (signat-ure
  linel.
           THEREFORE,the courtshould appointaspecialm asterand allow intervention,and
  in furtherance ofthe intervention and Fed.R.Civ.P.24,the Courtorder disclose to m e,

  the movant-intervenor,a1ldocuments to adequately and withoutprejudice represent
  intervention and the com m on questions of1aw orfactand m y aforesaid interestsin this
  transaction,as described in D kt.21 & 36,as this Courthas inherent authority to help

  maintain therelationsofmylegitimateexcellency (excellencies,here)from andonlyfrom
  elected office and ensure thatthe Devolved Sovereignty to the U nited Statesischecked.
  SeealsoD kt.49.

           FURTHER,1 also m ove or propose to this Court - m y appointm ent to special
  m aster w ill allow this Court and the D efendant to ensure thatthe Executive Branch,
  under the urtitary executive theory,isconducting review ofthe necessary docum ents-
  thatIbe appointed as a specialm aster. Contra.Elrod v.Burns,427 U .S.347,353 (1976).

  SeealsoM cM ahon v.PresidentialAirways,$02F.3d 1331,1356n.22(11th Cir.2007).

  SeealsoDkt.36.

  ''IAJprosegmotionl,howeverinartfullypleaded,m ustbeheld to lessstringentstandards
  than form alpleadings drafted by law yers.''Erickson r.Pardus,551 U S.89,94 (2007).
                                                                     .




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                          Respectfully subm itted,


                             rz.'/c;z,zJ<xz
                                 ..
                                               0
                                              ..

                          /s/RajK.Patel
                          T.E.,T.E.RajK.Patel(prose)
                         6850East21stStreet
                         Indianapolis,IN 46219
                         M arion Cotm ty
                         317-450-6651 (ce1l)
                         rajpzolo@gmail.com
                         www.rajpatel.live

                         J.D.Candidate,NotreDameL.Sch.2015-2017
                         President/sG dentBody President,StudentGov'tAss'n of
                            Em oryU .
                                    ,Inc.2013-2014 (corp.sovereign zol3-present)
                         StudentBody President,Brow nsburg Cm ty.Sch.
                             Corp./president,Brownsburg High Sch.StudentGov't
                             2009-2010'(corp.sovereign 2009-present)
                         Rep.from the N otre Dam eL.Sch.Sm dentB.A ss'n to the
                            Ind.St.B.Ass'n 2017
                         Deputy RegionalD irector,Yotm g Dem ocratsofA m .-l-ligh
                            Sch.Caucus2008-2009
                         Co-Founder& Vice Chair,Ind.H igh Sch.Dem ocrats2009-
                            2010
                         VicePresidentofFin.(Indep.),O xford C.Republicans of
                            Em ory U .
                                     ,Inc.2011-2012




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                                 CERTIfICATE oFsErtvlcE
   Icertify thatIserved acopy oftheforegoing RajK.Patel's(ProSe)Reply tobkt.48on
   08/31/2022tobelow individualsviathee-m ail:
   Jam esM .Trusly                                M .Evan Corcoran
   IFRAH ,PLLC                                    Silverm an,Thom pson,Slutkin,& W hite,
   1717 PennsylvaniaAve,N W ,Suite 650            LLC
  1W ashington,DC 20006                           400EastPrattStreet,Suite 900
   202-852-5669                                   Baltim ore,M D 21230
   jtrusty@ifrahlaw.com                           410-385-2225
                                                  ecorcoran@silverm anthom pson.com
   Lindsey H alligan
   511SE 5th Avenue                               Juan Antonio Gonzalez
   FortLauderdale,Florida33301                    UN ITED STATES A TTO RN EY
   720-435-2870                                   99 N E 41 Street,8th Floor
   lindseyhalligan@outlook.com                    M iam i,F133132
                                                  Telephone:(305)961-9001
                                                  jtlan.antonio.gonzalez@usdoj.gov
                                                  Jay 1.Bratt,Chief
                                                  Counterintelligence & ExportControl
                                                  Section N at'lSecurity Div.
                                                  950 Pennsylvania Avenue,NW
                                                  W ashington,D .C.20530
                                                   (202)233-0986
                                                  jay.brattz@usdoj.gov



   D ated:August31,2022


                                   Respectfully subm itted,

                                     éu
                                      '..v
                                   lslRajPatel
                                   T.E.,T.E.RajK.Patel(ProSe)
                                   6850 East21stStreet
                                   lndianapolis,IN 46219
                                   M arion County
                                   317-450-6651(ce1l)
                                   rajpzolo@gmail.com
                                   www.rajpatel.live


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